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         United States Court of Appeals
              for the Fifth Circuit
                                ___________

                                 No. 23-10326
                                ___________

Braidwood Management, Incorporated; John Scott
Kelley; Kelley Orthodontics; Ashley Maxwell; Zach
Maxwell; Joel Starnes,

                                         Plaintiffs—Appellees/Cross-Appellants,

                                     versus

Xavier Becerra, Secretary, U.S. Department of Health and Human
Services, in his official capacity as Secretary of Health and Human Services;
United States of America; Janet Yellen, Secretary, U.S.
Department of Treasury, in her official capacity as Secretary of the Treasury;
Julie A. Su, Acting Secretary, U.S. Department of Labor, in his official
capacity as Secretary of Labor,

                              Defendants—Appellants/Cross-Appellees.
                ______________________________

                Appeal from the United States District Court
                    for the Northern District of Texas
                          USDC No. 4:20-CV-283
                ______________________________

                        UNPUBLISHED ORDER

Before Clement, Southwick, and Higginson, Circuit Judges.
Per Curiam:
       IT IS ORDERED that Appellants/Cross-Appellees’ motion for
partial stay pending appeal is CARRIED WITH THE CASE.
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      IT IS FURTHER ORDERED that Appellants/Cross-Appellees’
motion for administrative stay while Court considers this motion is
GRANTED.




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